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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA, ex rel.                       :
ANTHONY R. SPAY,                                        :
                                                        :      CIVIL ACTION
                          Plaintiff,                    :
                                                        :
                  v.                                    :
                                                        :      NO. 09-4672
                                                        :
CVS CAREMARK CORPORATION;                               :
CAREMARK Rx, LLC (f/k/a CAREMARK                        :
Rx, Inc.); CAREMARK, LLC (f/k/a                         :
CAREMARK, INC.); SILVERSCRIPT, LLC                      :
(f/k/a SILVERSCRIPT INC.),                              :
                                                        :
                          Defendants.                   :


                                                ORDER

        AND NOW, this 4th day of September, 2014, it is hereby ORDERED that the Court’s

Order of August 25, 2014 (Docket No. 163) is CLARIFIED as follows, with changes identified

by italicized text:

        1.        Relator’s Motion to Unseal is GRANTED and the Clerk of Court shall UNSEAL
                  Relator’s Motion to Proceed with Nationwide Discovery (Docket No. 137) and
                  Relator’s Motion for Leave to File a Second Amended Complaint (Docket No.
                  138).1


        2.        Notwithstanding the foregoing, Relator’s Objections to Defendants’
                  Confidentiality Designations are DENIED and the following exhibits and any
                  substantive discussion (including paraphrasing, quoting, or otherwise revealing
                  the content) of those exhibits in the Motions shall remain REDACTED in the
                  docketed version of the unsealed motions:2



        1
             Defendants have no objection to this relief.
        2
             Defendants have agreed to withdraw their confidentiality designation as to Exhibit 7.
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               a.     Exhibit 4

               b.     Exhibit 5

               c.     Exhibit 6 at 157:11–25, 186:20–187:15, 189:21–190:8, and 262:13–263:3

               d.     Exhibit 8

               e.     Exhibit 10

               f.     Exhibit 11

               g.     Exhibit 13.3



       It is so ORDERED.

                                                     BY THE COURT:




                                                     s/ Ronald L. Buckwalter
                                                     RONALD L. BUCKWALTER, S.J.




       3
           Although Defendants designated all of these exhibits as “Confidential” between
October and December 2013, Relator never objected to such designations until May 2014, when
it filed the Motion to Proceed With Nationwide Discovery and the Motion for Leave to File a
Second Amended Complaint. While the Second Stipulated Protective Order does not clearly
delineate time limits in which objections to confidentiality designations must be filed, the
Protective Order seems to suggest that such objections should be made fairly contemporaneously
with the designations and not when the designated documents are to be used.
         In any event, the Court finds that Defendants have sustained their burden of showing that
the designated exhibits are entitled to confidential protection. Defendants’ Response Brief and
accompanying Declarations adequately establish that the foregoing exhibits are “previously
undisclosed information . . . disclosure of which might cause financial or competitive harm,” as
defined in the Protective Order. Relator’s Objections do nothing to refute such a showing. To
the extent that Relator claims that Defendants are simply trying to “shield from public view the
details of their fraudulent business practices,” (Relator’s Objections 1), this argument is
misplaced. As there has not yet been any determination regarding whether Defendants have
engaged in fraud, this reasoning does not provide a basis for the Court to supersede the Protective
Order agreed to by the parties.
